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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

JEREMY HUNTER, on behalf of himself | CASE NO.

 

 

and all others similarly situated,
CLASS ACTION COMPLAINT
Plaintiff,
JURY TRIAL DEMANDED
V.
SLM CORPORATION,
Defendant.
CLASS ACTION COMPLAINT

 

Plaintiff, Jeremy Hunter (“Plaintiff”), individually and on behalf of all others similarly
situated, sues Defendant, SLM Corporation. (“Defendant” or “SLM Corporation”), for violations
of the Telephone Consumer Protection Act, 47 U.S.C. §227, et seq. (“‘TCPA”), and alleges on
personal knowledge, investigation of his counsel, and on information and belief as follows:

NATURE OF ACTION

1. Plaintiff brings this class action for damages and other equitable and legal remedies
resulting from the unlawful conduct of Defendant in negligently or knowingly and/or willfully
placing calls and sending text messages to the cellular telephones of Plaintiff and putative Class
Members for non-emergency purposes, using an automatic telephone-dialing system without their
prior express consent, in violation of the TCPA. Plaintiff and putative Class Members were not
SLM Corporation customers at the time the calls at issue were placed. Upon information and belief,

these calls were intended for persons other than Plaintiff and putative Class Members.
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JURISDICTION AND VENUE

2. This Court has federal question jurisdiction over this matter because Plaintiff's
claims arise from violations of the Telephone Consumer Protection Act, 47 U.S.C. §§ 227, et seq.,
which is a law of the United States. This Court also has original jurisdiction under 28 U.S.C. §
1332(d)(2) because the matter in controversy exceeds $5,000,000.00, as each putative Class
Member is entitled to $500.00 per call negligently placed in violation of the TCPA, or $1,500.00
per call knowingly and/or willfully placed in violation of the TCPA, exclusive of attorneys’ fees,
pre-judgment interest, and costs, and is a class action in which Plaintiff is a citizen of a state
different from Defendant.

3, Venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), because many
of the acts giving rise to this action occurred in this District, Defendant maintains its principal

office in this District, and has intentionally availed itself of the laws and markets within this

District.
PARTIES
4. Plaintiff, Jeremy Hunter, is and was at all times relevant to this matter a citizen of
the state of Minnesota.
5. Defendant, SLM Corporation is a Delaware corporation with its principal place of

business located at 12061 Bluemont Way Reston, Virginia 20190. SLM Corporation, doing
business as Sallie Mae, originates, services and collects private education loans.
THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. § 227, et seq.
6. The TCPA, 47 U.S.C. §§ 227, et seq., was enacted by Congress in 1991 to address

consumer complaints about rampant telemarketing practices.
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7. Section 227(b)(1)(A)(iii) bans the use of an autodialer to place telephone calls to
cellular telephones unless the consumer has provided prior written consent to receive such calls,
or the calls are placed for emergency purposes.

8. The TCPA is designed to protect individual consumers from receiving intrusive and
unwanted telephone calls. Mims v. Arrow Fin. Servs., LLC, --US--, 132 8S. Ct., 740, 745, 181, L.
Ed. 2d 881 (2012).

9. “Senator Fritz Hollings, the TCPA’s sponsor, described these calls as ‘the scourge
of modern civilization, they wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the
wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm
Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

10. According to the Federal Communications Commission (“FCC”), “[u]nwanted
calls and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014.”! While the complaint numbers fluctuate year to year, unwanted
robocalls and telemarketing calls remain a perennial problem for consumers (172,000 complaints
in calendar year 2015, 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000

complaints in 2018).?

 

https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A 1 .pdf.

? Report on Robocalls, CG Docket No, 17-59 available at https://docs.fec.vov/public/attachments/DOC-
356196A1.pdf (last visited April 22, 2019); FCC, Consumer Complaint Data Center,
https://www.fec.gov/consumer-help-center-data (last visited April 22, 2019).

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FACTUAL ALLEGATIONS

11. — At all relevant times, Plaintiff was an individual residing in the state of Minnesota.
He is a “person” as defined by 47 U.S.C. § 153(39), and the “called party.” See Breslow y. Wells
Fargo Bank, N.A., 755 F,. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746
F.3d 1242 (11th Cir. 2014).

12. Plaintiff has been a T-Mobile subscriber since December 2018 and holder of
cellular telephone number 952-XXX-4417 since that time. Plaintiff was the called party and
recipient of Defendant’s calls, as described herein.

13. | Between approximately March 8, 2019 and April 4, 2019 Defendant placed, or
caused to be placed, at least eleven telephone calls to Plaintiff's cellular telephone number using
an automatic telephone dialing system (“ATDS”) or pre-recorded or artificial voice.

14. The automated debt collection calls were initiated from 877-501-6451, 844-559-
1334, 877-503-6329 and potentially other numbers assigned to Defendant. The calls consisted of
attempts to reach Patricia Howell, a person unknown to the Plaintiff.

15. Plaintiff is not now, nor ever has been, an SLM Corporation or Sallie Mae customer,
and does not have an account or business relationship with them.

16. Plaintiff did not provide his cellular telephone number to Defendant, nor did he
ever provide express consent for Defendant to place calls or send text messages to his cellular
telephone regarding debts owed by Patricia Howell, or with respect to any other subject matter.

17. Plaintiff answered and or returned certain calls placed, or caused to be placed, by
Defendant to his cellular telephone. On at least one occasion Plaintiff returned SLM Corporation’s

call and stated to the person who answered that he does not have an account with SLM Corporation
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or Sallie Mae, he is not the person who they are looking for, and to stop calling his cellular number.
Despite this request, however, Defendant continued to place calls to Plaintiffs cell phone.

18. Defendant’s robocalls, as received by Plaintiff, did not provide him the opportunity
to opt out of or request the cessation of Defendant’s calls, as evidenced by the fact that Defendant
continued placing calls to Plaintiffs cellular telephone number after he informed Defendant that
he was not the intended recipient and requested that the calls cease.

19. All of the calls and texts that Defendant placed and sent, or caused to be placed and
sent, to Plaintiffs cellular telephone number were placed and sent using an ATDS or pre-recorded
or artificial voice which has the capacity to store or produce telephone numbers to be called or
texted using a random or sequential number generator (including but not limited to a predictive
dialer) or an artificial or pre-recorded voice and to dial such numbers, as specified by 47 U.S.C §
227(a)(1).

20. The telephone number Defendant used to contact Plaintiff via an ATDS or pre-
recorded or artificial voice was assigned to a cellular telephone service, as described in 47 U.S.C.
§ 227(b)(1)(A)Gii).

21. The pertinent calls and texts were not placed or sent for emergency purposes, as
defined in 47 U.S.C. § 227(b)(1)(A).

22. _Defendant’s placement of calls and transmission of text messages using an ATDS
or pre-recorded or artificial voice for non-emergency purposes and without Plaintiff's prior express
consent violated 47 U.S.C, § 227(b)(1)(A).

23. Defendant has a corporate policy to use an ATDS or a pre-recorded or artificial

voice to place calls or send text messages to individuals, just as it did to Plaintiff's cellular

telephone.
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24. Defendant has a corporate policy to use an ATDS or a pre-recorded or artificial
voice, just as it did to the Plaintiffs cellular telephone in this case, with no way for the consumer,
or Defendant, to cease the placement of calls or the sending of text messages.

25. | Defendant’s corporate policy is structured so as to continue to place calls and send
text messages to individuals like Plaintiff, despite consumer requests that Defendant cease placing
calls and sending text messages.

26. Defendant’s corporate policy provided no means for Plaintiff to have his
number removed from the call list.

27. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge that the called parties have no relation to Defendant and do not wish to be called.

28. As a result of each of the calls and text messages described above, Plaintiff and
putative Class Members suffered an invasion of privacy, as well as particularized and concrete
injuries. Plaintiff and putative Class Members also suffered out-of-pocket losses, including the
monies paid to their wireless carriers for the receipt of such calls. Additionally, due to both the
answered and unanswered calls placed by Defendant, and read and unread text messages sent by
Defendant, Plaintiff and putative Class Members suffered the expenditure of their time, exhaustion
of their cellular telephone batteries, unavailability of their cellular telephones while Defendant’s
calls were incoming, and trespass upon their respective chattels. All of the above-mentioned
injuries were caused by, and/or directly related to, Defendant’s placement of calls and sending of
text messages to Plaintiff and putative Class Members by using an ATDS to call and text their
cellular telephone numbers.

29, In response to Defendant’s unlawful conduct, Plaintiff filed the instant lawsuit and

seeks an injunction requiring Defendant to cease all unsolicited cellular telephone calls and text
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messages, and an award of statutory damages and actual damages to putative Class Members under
the TCPA, together with costs and reasonable attorneys’ fees.
CLASS ACTION ALLEGATIONS
30. Pursuant to Federal Rules of Civil Procedure 23(a), (b)(2), (b)(3) and (c)(4) and as

detailed in the individual counts below, Plaintiff brings this action on behalf of himself and all
others similarly situated. Specifically, Plaintiff seeks to represent the following persons (“the
Class” or “Class Members”’):

All persons within the United States who, between June 10, 2015 and the

present, (1) received a non-emergency call or text message to their cellular

telephone numbers; (2) through the use of an automatic telephone-dialing

system or an artificial or pre-recorded voice; (3) from Defendant; and (4) who

were not SLM Corporation customers at the time of the calls and text messages.
Plaintiff hereby reserves the right to amend or modify the class definition after having had an
opportunity to conduct discovery.

31. | Excluded from the Class are Defendant, its employees, agents and assigns, and any
members of the judiciary to whom this case is assigned, their Court staff, and Plaintiff's counsel.
Numerosity

32. At present, Plaintiff does not know the exact number of putative Class Members.
However, given the volume of cellular telephone numbers reassigned on a daily basis*, and the
number of SLM Corporation customers throughout the United States, Class Members likely

number in the thousands, if not hundreds of thousands, and are geographically disbursed

throughout the country.

 

3 According to the Federal Communications Commission, as many as 100,000 cellular telephone
numbers are reassigned every day. In the Matter of Rules & Regulations Implementing the
Telephone Consumer Protection Act of 1991, 30 F.C.C. Red. 7961 (July 10, 2015).

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33. The alleged size and geographic disbursement of the putative Class, and relatively
modest value of each individual claim, makes joinder of all Class Members impracticable or
impossible.

Predominance of Common Questions of Law and Fact

34. This action involves common questions of law and fact, which predominate over
any questions affecting individual Class Members. The common legal and factual questions
include at least the following:

a. whether Defendant uses an ATDS, or artificial or pre-recorded voice to place
calls and/or send text messages to cellular telephones;

b. whether between January 27, 2017 and the present, Defendant used an ATDS
or artificial or pre-recorded voice to place calls and/or send text messages to the
cellular telephones of Plaintiff and putative Class Members;

c. whether between January 27, 2017 and the present, Defendant used an artificial
or pre-recorded voice in connection with its placement of autodialed calls to the
cellular telephones of Plaintiff and putative Class Members;

d. whether Defendant is subject to the TCPA;

e. whether Defendant can show that it obtained prior express consent from
Plaintiff and putative Class Members to place calls or send text messages to
their cellular telephones using an ATDS or artificial or pre-recorded voice;

f. whether Defendant’s conduct violates the TCPA;

g. whether Defendant’s conduct was negligent;

h. whether Defendant’s conduct was knowing and/or willful;

i. whether Defendant is liable for damages, and the amount of such damages;
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j. whether Plaintiff and putative Class Members are entitled to declaratory relief;
k. whether Defendant should be enjoined from engaging in conduct in violation
of the TCPA in the future; and
]. whether Plaintiff and Class Members are entitled to any other remedy.
Typicality
35. Plaintiff's claims are typical of the claims of the putative Class Members, as
Plaintiff and Class Members have been injured by Defendant’s uniform misconduct — the
placement of calls and sending of text messages to cellular telephones using an ATDS or artificial
or pre-recorded voice for non-emergency purposes and without prior express consent.
36. Plaintiff shares the aforementioned facts and legal claims and/or questions with all
putative Class Members. Further, a sufficient relationship exists between Defendant’s conduct and

the damages sustained by Plaintiff and putative Class Members.

Adequacy

37. Plaintiff will fairly and adequately protect the interests of putative Class Members
and is committed to the vigorous prosecution of this action. Plaintiff has retained counsel
experienced in complex consumer class action litigation and matters specifically involving TCPA
violations. Plaintiff intends to prosecute this action vigorously, and has no interest adverse or

antagonistic to those of the Class.

Superiori

38. A class action is superior to other available methods for the fair and efficient
adjudication of this controversy. Individual joinder of all Class Members’ claims is impracticable

or impossible for at least the following reasons:
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a. The Class claims predominate over any questions of law or fact (if any)
affecting only individual Class Members;

b. Absent a Class, the Class Members will continue to suffer damage and
Defendant’s violations of the TCPA will continue without remedy;

c. Given the size of individual Class Members’ claims, few (if any) putative
Class Members could afford to or would seek legal redress individually for the wrongs
Defendant committed and continues to commit against them, and absent Class Members
have no substantial interest in individually controlling the prosecution of individual
actions;

d. Individualized litigation would create the danger of inconsistent or
contradictory judgments arising from the same set of facts, while also increasing the delay
and expense to all parties and the courts. Comparatively, the class action device provides
economies of scale and allows Class Members’ claims to be comprehensively administered
and uniformly adjudicated in a single proceeding;

€. When the liability of Defendant has been adjudicated, claims of all Class
Members can be administered efficiently and determined uniformly by the Court;

f. No difficulty impedes the action’s management by the Court as a class
action, which is the best available means by which Plaintiff and Class Members can seek
redress for the damages caused to them by Defendant’s uniform misconduct;

g. The litigation and trial of Plaintiff's claims are manageable;

h. Defendant has acted and/or refused to act on grounds generally applicable
to Plaintiff and the Class by placing calls and sending text messages to their cellular

telephone numbers, using an ATDS or artificial or pre-recorded voice, for non-emergency

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purposes and without their prior express consent, rendering just and appropriate final
injunctive relief for the Class; and

i. Because Plaintiff seeks injunctive relief and corresponding declaratory and
equitable relief for the entire Class, the prosecution of separate actions by individual Class
Members would create a risk of inconsistent or varying adjudications with respect to
individual Class Members, and establishing incompatible standards of conduct for
Defendant. Additionally, bringing individual claims would burden the courts and result in
an inefficient method of resolving this action. As a practical matter, adjudications with
respect to individual Class Members would be dispositive of the interests of other Class
Members who are not parties to the adjudication and may impair or impede their ability to
protect their respective interests. Consequently, class treatment is a superior method for

adjudication of the issues in this case.

39. The Class is also ascertainable as Members can be easily identified through
Defendant’s records or those of its vendors who placed the calls and/or sent the text messages at
issue on behalf of Defendant.

CAUSES OF ACTION
COUNT I
Negligent Violation of the Telephone Consumer Protection Act
47 U.S.C. §§ 227, et seq.

40. Plaintiff incorporates by reference the allegations in Paragraphs | through 39, as

though fully set forth herein.

41. | Without prior express consent, Defendant placed calls and sent text messages for

non-emergency purposes to the cellular telephones of Plaintiff and Class Members using an ATDS

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or artificial or pre-recorded voice with the capacity to store or produce telephone numbers to be
called or texted.

42. The foregoing acts constitute numerous and multiple negligent violations of the
TCPA, including, but not limited to, each of the above-cited provisions of 47 U.S.C. §§ 227, e¢
Seq.

43. Under 47 U.S.C. § 227(b)(3)(B), and as a result of the alleged negligent violations
of the TCPA, Plaintiff and Class Members are entitled to an award of $500.00 in statutory damages
for each and every non-emergency call placed and text message sent in violation of the TCPA.

44, Plaintiff and Class Members are also entitled to and seek injunctive relief

prohibiting future violations of the TCPA.

45. Plaintiff and Class Members are also entitled to an award of costs and expenses.

COUNT II
Knowing and/or Willful Violation of the Telephone Consumer Protection Act
47 U.S.C. §§ 227, et seq.

46. Plaintiff incorporates by reference the allegations in Paragraphs 1 through 39, as
though fully set forth herein.

47, Without prior express consent, Defendant placed calls and sent text messages for
non-emergency purposes to the cellular telephones of Plaintiff and Class Members using an ATDS
or artificial or pre-recorded voice with the capacity to store or produce telephone numbers to be

called or texted.

48. The foregoing acts constitute numerous and multiple knowing and/or willful

violations of the TCPA, including, but not limited to, each of the above cited provisions of 47

U.S.C. §§ 227, et seq.

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49. Pursuant to 47 U.S.C. § 227(b)(3)(B), and as a result of the alleged knowing and/or
willful violations of the TCPA, Plaintiff and Class Members are entitled to an award of $1,500.00
in statutory damages for each and every non-emergency call placed and text sent in violation of
the statute.

50. Plaintiff and Class Members are also entitled to and seek injunctive relief
prohibiting future violations of the TCPA.

51. Plaintiff and Class Members are also entitled to an award of costs and expenses.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff and all putative
Class Members the following relief against Defendant:

A. $500.00 in statutory damages for each and every call negligently placed and text
message negligently sent by Defendant in violation of 47 U.S.C. § 227(b)(1) of the TCPA;

B. $1,500.00 in statutory damages for each and every call willfully and/or knowingly

placed and text message willfully and/or knowingly sent by Defendant in violation of 47 U.S.C, §

227(b)(1) of the TCPA;
C. An award of actual damages resulting from Defendant’s violations of the TCPA;
D. Injunctive relief seeking the implementation of measures by Defendant to stop

future violations of the TCPA;

E. An award of costs and expenses to Plaintiff's counsel;

F, An order certifying this matter as a class action pursuant to Federal Rule of Civil
Procedure 23, certifying the Class defined herein, appointing Plaintiff as Class Representative, and
appointing Plaintiff's counsel as Class Counsel; and

G. Any additional relief that the Court deems just and proper.

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Dated: June 11, 2019

Respectfully submitted,
MURPHY, FALCON & MURPHY

/s/

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DEMAND FOR JURY TRIAL

 

Plaintiff demands a trial by jury on all counts so triable.

/s/
John G. Harnishfeger (Virginia Bar No. 36878)

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